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  GARRY J. CLEMENTE, ESQ.
  ATTORNEY ID. NO. 305992020
  JAMES P. NOLAN AND ASSOCIATES, L.L.C.
  61 GREEN STREET, WOODBRIDGE, NEW JERSEY 07095
  TELEPHONE: (732) 636-3344 FAX: (732) 636-1175
  Attorneys for Woodbridge Defendants

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

  NIJEER PARKS,                      :
                                     :
                   Plaintiff,        :       CIVIL ACTION NO.
                                     :       2:21-cv-04021-JXN-LDW
  -v-                                :
                                     :       WOODBRIDGE DEFENDANTS’
  JOHN E. MCCORMACK, MAYOR OF        :       STATEMENT OF MATERIAL FACTS
  WOODBRIDGE, et al.                 :
                                     :
                   Defendants.       :

     WOODBRIDGE DEFENDANTS’ LOCAL RULE 56.1 STATEMENT OF MATERIAL
                                 FACTS

        The Woodbridge Defendants submit this Statement of Material

  Facts pursuant to Local Rule 56.1 in support of its Motion for

  Summary Judgment, which seeks to dismiss Plaintiff’s Complaint in

  its entirety.

                                     Respectfully submitted,

  Dated: December 5, 2023            /s/ Garry J. Clemente, Esq.

                                     Garry J. Clemente, Esq.
                                     Law Office of James P. Nolan &
                                     Associates, Attorneys for
                                     Woodbridge Defendants




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                          STATEMENT OF MATERIAL FACTS
  1.    On January 26, 2019, Woodbridge Police Department (“WPD”)

  Officers Francis Lee and Andrew Lyszyk were separately dispatched

  to the Hampton Inn on Route 9 North in Woodbridge on a report of

  shoplifting.     (See    WPD   Director     Robert     Hubner’s   Answers   to

  Interrogatories, attached hereto as Exhibit “B”).

  2.    Officer Lee arrived on scene first and encountered the suspect

  in the lobby, an African American male who identified himself as

  “Jamal Owens.” (Id.)

  3.    The   suspect     produced   a   Tennessee     driver’s   license   which

  listed the name “Jamal Owens” and displayed a photograph of the

  suspect. (Id.)

  4.    Officer Lee called WPD headquarters to have dispatch run the

  suspect’s driver’s license to determine if it was legitimate. (See

  Transcript of Deposition of WPD Officer Francis Lee, attached

  hereto as Exhibit “D” Page 18, Line 11-16).

  5.    Dispatch advised Officer Lee that the suspect’s driver’s

  license was not coming back on file. Officer Lyszyk took the

  suspect’s driver’s license to his patrol vehicle to further attempt

  to verify its authenticity. (See Transcript of Deposition of WPD

  Officer Andrew Lyszyk, attached hereto as Exhibit “C” Page 13,

  Line 22-25).




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  6.    Officer Lyszyk contacted the Tennessee State Police, who

  confirmed that the suspect’s driver’s license was fake. (Id. at

  Page 14, Line 7-13).

  7.    Since Officers Lee and Lyszyk were unable to confirm the

  identity of the suspect, who had admitted to shoplifting, the

  decision was made to place the suspect under arrest. (Id. at Page

  14, Line 24-25; Page 15, Line 1-4).

  8.    When   Officer   Lyszyk   attempted    to   place   the   suspect   in

  handcuffs, the suspect slipped away from his grasp and fled the

  scene by running out the back door of the Hampton Inn lobby. (Id.

  at Page 15, Line 25; Page 16, Line 1-6).

  9.    Officers Lee and Lyszyk pursued the suspect as he ran around

  to the front of the Hampton Inn and entered his vehicle. There,

  the Officers confronted the suspect and drew their service weapons

  while demanding that the suspect turn off and exit the vehicle.

  (Id. at Page 16, Line 10-19).

  10.   The suspect’s vehicle was rented from Hertz and the suspect

  was at the Hampton Inn to renew his rental agreement at the Hertz

  kiosk located in the lobby. (See Hertz Rental Agreement, attached

  hereto as Exhibit “P”).

  11.   The suspect refused to comply with the Officers’ commands and

  fled the scene in his vehicle, striking Officer Lyszyk’s patrol

  vehicle before hitting a pillar in front of the Hampton Inn. During

  this time, Officer Lee had to jump out of the way to avoid being

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  struck by the suspect’s vehicle. (Deposition of Ofc. Lyszyk,

  Exhibit “C” Page 16, Line 18-22).

  12.   Officers Lee and Lyszyk engaged in a brief vehicular pursuit

  of the suspect, but were unable to locate the suspect. The Officers

  returned to the Hampton Inn to preserve the scene. (Id. at Page

  17, Line 1-13).

  13.   Other officers on patrol were dispatched to the Hampton Inn

  to guard the doors to the lobby and preserve the scene. The WPD

  Detective Bureau was notified of the incident and Detective Jorge

  Quesada arrived to begin processing the evidence left at the scene.

  (Director Hubner’s Answers to Interrogatories, Exhibit “B”).

  14.   Det. Quesada was assigned to the Identification Unit within

  the Detective Bureau and was responsible for photographing and

  collecting evidence at the scene. (See Transcript of Deposition of

  WPD Detective Jorge Quesada, attached hereto as Exhibit “E” Page

  8, Line 9-16).

  15.   Upon his arrival on scene, Det. Quesada was advised of the

  areas of the Hampton Inn lobby that the suspect interacted with

  prior to and during his flight from the lobby. (Id. at Page 19,

  Line 14-20).

  16.   Det. Quesada learned that the suspect fled through the rear

  glass common door to the lobby. (Id. at Page 20, Line 3-5).




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  17.   Det. Quesada viewed surveillance video from the Hampton Inn

  to determine where the suspect touched the door, but the angle of

  the camera did not cover the door. (Id. at Page 28, Line 3-7).

  18.   Det. Quesada ultimately collected three fingerprints from the

  rear glass common door to the lobby. (Director Hubner’s Answers to

  Interrogatories, Exhibit “B”).

  19.   Det. Quesada also collected a water bottle that the suspect

  drank from and a sneaker that the suspect lost during his flight

  from the Hampton Inn. (Deposition of Det. Quesada, Exhibit “E”

  Page 19, Line 14-20.

  20.   Officer Lyszyk advised Det. Quesada that he still had the

  suspect’s driver’s license and that although the license was fake,

  the picture on the license was that of the suspect. (Deposition of

  Ofc. Lyszyk, Exhibit “C” Page 18, Line 10-13).

  21.   The   suspect’s   vehicle    was   found   the    next   day   and    five

  additional fingerprints were lifted and a vape pen was collected

  from the vehicle. (Director Hubner’s Answers to Interrogatories,

  Exhibit “B”).

  22.   With the evidence collected, Det. Sgt. Tapia and the Detective

  Bureau took over the investigation. (Id.; see also the Transcript

  of Deposition of WPD Det. Sgt. Santiago Tapia, attached hereto as

  Exhibit “F” Page 56, Line 3-6).

  23.   The   fingerprints    were   reviewed      at    WPD   headquarters    to

  determine if they were suitable to be packaged and sent to the New

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  Jersey State Police (“NJSP”) for analysis. (Deposition of Det.

  Quesada, Exhibit “E” Page 25, Line 1-4).

  24.   As is the case with other local municipal police departments,

  the WPD does not have the capability to analyze and compare

  fingerprints in-house. (Id. at Page 27, Line 5-25; Page 28, Line

  1-2).

  25.   The fingerprint evidence was reviewed and packaged by Det.

  Quesada on January 26, 2019. (See the WPD I.D. Bureau Report,

  attached hereto as Exhibit “K”).

  26.   Det. Sgt. Tapia had prior experience with facial recognition

  technology through a prior assignment with the NJSP Auto Theft

  Task Force, where that technology was used successfully to identify

  suspects. (Deposition of Det. Sgt. Tapia, attached hereto as

  Exhibit “F” Page 45, Line 6-13).

  27.   Facial recognition software analyzes a sample photograph and

  considers the characteristics of an individual’s face, including

  the eyes, ears, nose, mouth, cheekbones, and other features. When

  the software identifies a potential match, the software gives a

  probability of a positive match. (See Transcript of Deposition of

  Rockland County Intelligence Center Investigator Seamus Lyons,

  attached hereto as Exhibit “I” Page 32, Line 2-14).

  28.   Facial recognition technology is a tool that may be utilized

  in an investigation. (Deposition of Det. Sgt. Tapia, Exhibit “F”

  Page 50, Line 22-25; See also the Deposition of Det. Quesada,

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  Exhibit   “E”   Page   32,     Line   1-5);    See   also   the   Deposition   of

  Investigator Lyons, Exhibit “I” Page 30, Line 5-22; Page 86, Line

  3-11).

  29.   Local municipal police departments may submit requests for

  facial recognition technology analysis to the New Jersey Regional

  Operations Intelligence Center (“NJROIC”), the New York State

  Intelligence Center (“NYSIC”), or the Rockland County Intelligence

  Center    (“RCIC”).    These    entities      have   several   tools   at   their

  disposal, including facial recognition technology, that local and

  State police departments do not have access to. (Deposition of

  Det. Sgt. Tapia, Exhibit “F” Page 46, Line 10-17).

  30.   On January 27, 2019, Detective Tapia created a bulletin which

  was sent to these entities and explained the circumstances of the

  incident at the Hampton Inn. The bulletin contained the suspect’s

  driver’s license photograph and requested that facial recognition

  analysis be performed in an effort to identify the suspect. (See

  WPD Bulletin Requesting Assistance Identifying Suspect, attached

  hereto as Exhibit “Q”; See also Facial Recognition Initiative

  Request Form, attached hereto as Exhibit “T”).

  31.   Prior to sending the bulletin, Det. Sgt. Tapia showed the

  suspect’s driver’s license to Officers Lyszyk and Lee separately,

  who each confirmed that the photo on the license depicted the

  individual they dealt with at the Hampton Inn. (Deposition of Det.



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  Sgt. Tapia, Exhibit “F” Page 132, Line 17-25; Page 133, Line 1-

  6).

  32.   Defense Expert, Major Joseph Craparotta, New Jersey State

  Police (Ret.) opined that Sgt. Tapia properly used his training

  and knowledge to submit the driver’s license for facial recognition

  analysis as a tool to identify the suspect from the Hampton Inn.

  (See the Report of Defense Expert Major Joseph Craparotta (Ret.),

  attached hereto as Exhibit “U” Page 26).

  33.   Plaintiff’s Expert, Ralph Cilento, New York Police Department

  (Ret.)   opined   that   Sgt.   Tapia    was   correct   in   utilizing   all

  investigative means necessary to attempt to identify the suspect

  and that Sgt. Tapia determination to send the driver’s license for

  facial recognition analysis was an appropriate investigative step.

  (See the Report of Plaintiff’s Expert Ralph Cilento, attached

  hereto as Exhibit “V” Page 6).

  34.   The bulletin was received by Investigator Seamus Lyons of the

  Rockland County Intelligence Center (“RCIC”) in New York. The RCIC

  provides services to outside law enforcement, including manpower

  support, police records management, intelligence gathering, and

  evidence analysis. (Deposition of Investigator Lyons, attached

  Exhibit “I” Page 8, Line 7-12).

  35.   Investigator Lyons is a 27-year law enforcement veteran and

  had received training regarding the use of facial recognition

  technology. (Id. at Page 8, Line 18-19; Page 23, Line 5-14).

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  36.   Investigator    Lyons     and    the        RCIC    have        utilized    facial

  recognition technology with a great deal of success in identifying

  previously unknown individuals in hundreds of cases. (Id. at Page

  21, Line 15-18; Page 27, Line 22-25).

  37.   Investigator Lyons viewed the photograph of the suspect’s

  driver’s license on the bulletin and shrunk it slightly to make

  the pixels clearer. This is done frequently and enables the facial

  recognition software to get a better read on the photograph without

  affecting the validity of the results. (Id. Page 77, Line 1-9;

  Page 78, Line 1-4).

  38.   The   facial   recognition       software          matched       the    photograph

  displayed on the suspect’s fraudulent driver’s license to Nijeer

  Parks. (Deposition of Det. Sgt. Tapia, Exhibit “F” Page 90, Line

  10-13).

  39.   Upon viewing the results of the facial recognition analysis,

  Investigator Lyons immediately noted striking similarities in the

  resemblance between the suspect’s driver’s license photograph and

  the   photograph     returned     of    Nijeer           Parks.       (Deposition      of

  Investigator Lyons, Exhibit “I” Page 89, Line 18-23).

  40.   Investigator    Lyons   showed        the    results       to    a     fellow   RCIC

  Investigator, Lieutenant Richard Dey, who was in agreement that

  the resemblance was sufficient to provide the WPD with the facial

  recognition results as a possible lead on the Hampton Inn suspect.

  (Id. at Page 89, Line 18-23).

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  41.    The     facial   recognition      software      indicated      that     the

  probability of a positive match to Plaintiff was 594 out of a

  possible       1,000,   which     is    sufficient     to      warrant     further

  investigation into Plaintiff. (Id. at Page 53, Line 9-25; Page 54,

  Line 1-5).

  42.    Investigator     Lyons   has    made   positive     matches   with    lower

  threshold probability scores in other investigations than that

  which identified Plaintiff here. (Id. at Page 53, Line 21-23).

  43.    After    receiving   the    match      from   the    facial   recognition

  software,      Investigator     Lyons    reviewed     Plaintiff’s        extensive

  criminal history in New Jersey and noted that Plaintiff’s past

  addresses connected him to New Jersey. (Id. at Page 47, Line 3-

  12).

  44.    Investigator     Lyons   supplied      the    results    of   the    facial

  recognition analysis to Sgt. Tapia via email on January 28, 2019.

  (See Rockland County Intelligence Center Officer Report, attached

  hereto as Exhibit “AA”).

  45.    Investigator Lyons’ email to Sgt. Tapia stated that the facial

  recognition software came back with a “high number hit” comparison

  to Plaintiff. (Id. Bates stamped PARKS000034).

  46.    Upon receiving the results of the facial recognition analysis

  and criminal history from the RCIC, Det. Sgt. Tapia summoned

  Officer Lyszyk to the Detective Bureau to determine if he could

  personally identify the suspect. Officer Lyszyk confirmed to Det.

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  Sgt. Tapia that he was 100% certain that the image returned by the

  facial recognition software was the individual that he dealt with

  at the Hampton Inn. (Deposition of Det. Sgt. Tapia Exhibit “F”

  Page 90, Line 10-22).

  47.   Peter Nastasi was the Assistant Prosecutor who was the point

  of contact in the Middlesex County Prosecutor’s Office for the

  WPD. (Deposition of Det. Quesada, Exhibit “E” Page 13, Line 14-

  17; see also Director Hubner’s Answers to Interrogatories, Exhibit

  “B”).

  48.   Det. Sgt. Tapia and Officer Lyszyk contacted AP Nastasi and

  explained the facial recognition results and advised of Officer

  Lyszyk’s positive identification of the suspect as Nijeer Parks.

  (Deposition of Det. Sgt. Tapia, Exhibit “F” Page 135, Line 5-23).

  49.   AP   Nastasi    determined     that   probable   cause    existed   and

  authorized    Det.    Sgt.   Tapia    and   Officer    Lyszyk   to   generate

  Complaint-Warrants against Nijeer Parks. AP Nastasi advised of

  what charges would be issued and the Complaint-Warrants were sent

  to AP Nastasi for his review and approval. (Id. at Page 115, Line

  6-10; Page 137, Line 13-25; Page 138, Line 1-4).

  50.   The Affidavit of Probable Cause attached to the Complaint-

  Warrants stated that facial recognition technology was employed

  and helped identify Plaintiff as the suspect. (See Complaint-

  Warrant 1225-W-2019-000156, attached hereto as Exhibit “N” and



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  Complaint-Warrant 1225-W-2019-000158, attached hereto as Exhibit

  “O”).

  51.   Det. Sgt. Tapia contacted Judge David Stahl and advised him

  of the Complaint-Warrants before sending them to him for his

  review. (Deposition of Det. Sgt. Tapia, Exhibit “F” Page 119, Line

  20-24).

  52.   Judge Stahl signed off on the Complaint-Warrants on January

  30,   2019.   (Complaint-Warrant     1225-W-2019-000156,      Exhibit   “N”;

  Complaint-Warrant 1225-W-2019-000158, Exhibit “O”).

  53.   That same day, Det. Sgt. Tapia, Officer Lyszyk, and another

  officer drove to Paterson in an attempt to serve the Complaint-

  Warrants and arrest Parks. (Deposition of Ofc. Lyszyk, Exhibit “C”

  Page 38, Line 24-25; Page 39, Line 1-3).

  54.   On February 4, 2019, Det. Quesada packaged the suspect’s

  sneaker, water bottle, and vape pen in preparation to be sent to

  the NJSP for DNA analysis. (See WPD Vehicle/Property Description

  Report, attached hereto as Exhibit “R”; see also the Deposition of

  Det. Quesada, Exhibit “E” Page 29, Line 1-10).

  55.   It is standard procedure at the WPD that when several packages

  of evidence are ready for analysis, a WPD Officer physically

  transports the packages to the NJSP. (Deposition of Det. Quesada,

  Exhibit “E” Page 25, Line 12-18).

  56.   The NJSP is extremely backlogged with cases and requests for

  evidence analysis. It typically takes about four to six weeks for

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  the fingerprint packages to be returned, either with a positive

  match or with no comparison. (Id. at Page 26, Line 1-10).

  57.   On February 5, 2019, Plaintiff presented to WPD Headquarters

  to address the active Complaint-Warrants against him and was placed

  under   arrest    without    incident.       (Director   Hubner’s   Answers   to

  Interrogatories, Exhibit “B”; see also the Transcript of the

  Deposition of Nijeer Parks, attached hereto as Exhibit “J” Page

  34, Line 10-22).

  58.   Plaintiff was read the Miranda Warnings and Plaintiff signed

  a waiver of these rights. (See Miranda Warnings Card, attached

  hereto as Exhibit “S”).

  59.   While Plaintiff was in custody, he was booked, processed, and

  interviewed      without    incident.    (Director       Hubner’s   Answers   to

  Interrogatories, Exhibit “B”; see also the Deposition of Parks,

  attached hereto as Exhibit “J” Page 35, Line 11-13; Page 40, Line

  5-7).

  60.   Officer Lee was called in to WPD Headquarters to determine if

  he could positively identify Plaintiff as the suspect from the

  incident at the Hampton Inn. (Deposition of Ofc. Lee, Exhibit “D”

  Page 24, Line 12-25; Page 25, Line 1-8).

  61.   Officer Lee observed Plaintiff while he was handcuffed to a

  bench in the booking area. Officer Lee identified Plaintiff as the

  suspect that he interacted with at the Hampton Inn on January 26,



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  2019. (Id. at Page 29, Line 15-20; see also Director Hubner’s

  Answers to Interrogatories, Exhibit “B”).

  62.   Before Plaintiff was transported to the Middlesex County

  Jail, he feigned an asthma attack and fell to the floor because he

  believed that he was going to be assaulted by officers. (Deposition

  of Parks, Exhibit “J” Page 41, Line 12-22).

  63.   The officers present helped Plaintiff off the floor, sat him

  on the bench, and called for EMTs to respond. (Id. at Page 41,

  Line 20-22).

  64.   While Plaintiff was in the custody of the WPD, he was never

  subjected excessive force, and conceded multiple times that none

  of the officers present touched Plaintiff in any kind of aggressive

  manner. (Id. at Page 35, Line 11-13; Page 36, Line 8-11; Page 44,

  Line 18-23; Page 49, Line 19-22).

  65.   After    the   EMTs    finished     treating   Plaintiff,     he   was

  transported to the Middlesex County Jail without incident. (Id. at

  Page 58, Line 10-12).

  66.   Plaintiff was released from the Middlesex County Jail on

  February 13, 2019 after being held for eight days. (Id. at Page

  119, Line 2-15).

  67.   The fingerprint and DNA evidence was received by the NJSP on

  February 8, 2019. (See Request for Latent Fingerprint Examination,

  attached hereto as Exhibit “L”; see also NJSP DNA Evidence Receipt,

  attached hereto as Exhibit “W” Bates stamped PARKS000174).

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  68.     The fingerprint evidence was analyzed on February 14, 2019

  and returned to the WPD on February 22, 2019 with information that

  the   fingerprints    belonged    to   an   individual   named   Barrington

  Walker. By this point, Plaintiff had already been released from

  custody. (Request for Latent Fingerprint Examination, Exhibit “L”;

  see also WPD I.D. Bureau Suspect Report, attached hereto as Exhibit

  “X”).

  69.   This identification was of little to no evidentiary value, as

  the only fingerprints suitable for analysis were recovered from

  the common door of the Hampton Inn lobby and it was unknown where

  the suspect physically touched the door. (Deposition of Det. Sgt.

  Tapia, Exhibit “F” Page 121, Line 6-11).

  70.   The DNA evidence received by the NJSP laboratory was analyzed

  on April 17, 2019. (NJSP DNA Evidence Receipt, Exhibit “W” Bates

  stamped PARKS000175).

  71.     The NJSP was not able to obtain any DNA from the sneaker, but

  did collect DNA from the water bottle. However, the DNA from the

  water bottle did not result in a match to a suspect. (Deposition

  of Det. Quesada, Exhibit “E” Page 39, Line 13-24).

  72.     October 18, 2019, DNA analysis complete but no match made.

  (See the NJSP DNA Laboratory Report, attached hereto as Exhibit

  “Y”).

  73.     On January 24, 2020, the New Jersey Attorney General told

  state prosecutors that police officers should stop using the

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  Clearview AI facial recognition app. (Report of Defense Expert

  Maj. Craparotta, Exhibit “U” Page 26).

  74.    Plaintiff initiated the subject lawsuit with the filing of a

  Complaint with the Superior Court of New Jersey on November 25,

  2020.      (See   Docket     No.    PAS-L-003672-20,      Transaction     ID

  LCV20202148483).

  75.    On January 15, 2021, Plaintiff amended his Complaint. (See

  Docket No. PAS-L-003672-20, Transaction ID LCV2021117384).

  76.    On March 3, 2021, the Woodbridge Defendants removed this

  matter to the New Jersey District Court. (ECF No. 1).

  77.    On April 23, 2021, a Motion to Dismiss Plaintiff’s Complaint

  was filed on behalf of the Middlesex County Prosecutor’s Office

  Defendants. (ECF No. 3.) This Motion was terminated on May 27,

  2021 and Plaintiff was permitted to amend his Complaint. (ECF No.

  15).

  78.     On June 1, 2021, Plaintiff filed his First Amended Complaint.

  (ECF No. 16). On June 22, 2021, the Middlesex County Prosecutor’s

  Office Defendants refiled their Motion to Dismiss Plaintiff’s

  Complaint. (ECF No. 19).

  79.     On July 23, 2021, the Woodbridge Defendants filed a Motion

  for Judgment on the Pleadings. (ECF No. 24).

  80.     On July 30, 2021, after further analysis the NJSP determined

  that the DNA from the water bottle belonged to Barrington Walker.

  (Deposition of Det. Quesada, Exhibit “E” Page 40, Line 14-18; see

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  also   the   NJSP   CODIS    Investigative    Hit   Notification,   attached

  hereto as Exhibit “Z”).

  81.    On May 26, 2022, Plaintiff filed a Motion to Amend the

  Complaint (ECF No. 24) and the dispositive Motions referenced above

  were administratively terminated pending resolution of Plaintiff’s

  request to amend the Complaint. (ECF No. 51).

  82.    Plaintiff’s Motion was granted in part (ECF No. 69) and

  Plaintiff filed his Second Amended Complaint on October 7, 2022.

  (ECF No. 72).

  83.    On November 4, 2022, Plaintiff voluntarily dismissed his

  claims against the Middlesex County Department of Corrections.

  (ECF No. 76).

  84.    On   December   19,   2022,   the   Middlesex   County   Prosecutor’s

  Office Defendants refiled their Motion to Dismiss Plaintiff’s

  Complaint. (ECF No. 80).

  85.    On July 27, 2023, Plaintiff voluntarily dismissed his claims

  against the Middlesex County Prosecutor’s Office. (ECF No. 103).




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                          CERTIFICATION OF SERVICE
        I, Garry J. Clemente, hereby certify that on the date set

  forth below, I caused a true and correct copy of the foregoing

  Statement of Material Facts and all accompanying documents to be

  served upon the following counsel of record via operation of the

  Court’s CM/ECF system:

                           Daniel W. Sexton, Esq.
                       Daniel W. Sexton, Esquire, LLC
                             229 New Centre Road
                       Hillsborough, New Jersey 07304
                           Attorney for Plaintiff


  Dated: December 5, 2023                   /s/ Garry J. Clemente, Esq.
                                            Garry J. Clemente, Esq.




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